                       Case 1-17-43078-nhl              Doc 83     Filed 06/13/19     Entered 06/13/19 09:59:21
0022-47-EPIEXX-00064291-82435

                                UNITED STATES BANKRUPTCY COURT
                                                    EASTERN DISTRICT OF NEW YORK


In re: BEGUM S NASSA                                                                                     Case No.: 117-43078-NHL

                 Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
Marianne De Rosa, chapter 13 trustee, submits the following Final Report and Account of the administration of the estate pursuant to 11
U.S.C. Section 1302(b)(1). The trustee declares as follows:

1) The case was filed on 06/13/2017.
2) The plan was confirmed on 03/22/2019.
3) The plan was modified by order after confirmation pursuant to 11 U.S.C Section 1329 on NA.
4) The trustee filed action to remedy default by the debtor in performance under the plan on NA.
5) The case was completed on 01/29/2019.
6) Number of months from filing or conversion to last payment: 19.
7) Number of months case was pending: 23.
8) Total value of assets abandoned by court order: NA.
9) Total value of assets exempted: 178,100.00.
10) Amount of unsecured claims discharged without full payment: .00.
11) All checks distributed by the trustee relating to this case have cleared the bank.

 Receipts:
        Total paid by or on behalf of the debtor:          $322,064.61
        Less amount refunded to debtor:                      $5,192.20
 NET RECEIPTS:                                                                $316,872.41

 Expenses of Administration:
        Attorney's Fees Paid Through The Plan:                                 $3,500.00
        Court Costs:                                                                $.00
        Trustee Expenses and Compensation:                                    $19,167.27
        Other:                                                                      $.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                              $22,667.27

 Attorney fees paid and disclosed by debtor:                      $.00




 Scheduled Creditors:
Creditor                                                         Claim          Claim              Claim        Principal           Interest
Name                                         Class               Scheduled      Asserted           Allowed      Paid                Paid
DEPARTMENT STORES NATIONAL BANK Unsecured                            634.00       674.56            674.56         674.56                  .00
FIRST NATIONAL BANK OF OMAHA                 Unsecured             1,863.00      1,913.10          1,913.10      1,913.10                  .00
MIDLAND FUNDING, LLC                         Unsecured             2,027.00      2,019.11          2,019.11      2,019.11                  .00
NEW YORK CITY WATER BOARD                    Secured                     NA           .00               .00            .00                 .00
NYS DEPT OF TAX & FINANCE                    Priority                    NA      2,129.00          2,129.00      2,129.00                  .00
PORTFOLIO RECOVERY ASSOCS.                   Unsecured             2,042.00      2,098.09          2,098.09      2,098.09                  .00
TD AUTO FINANCE LLC                          Secured               3,952.00           NA                NA             .00                 .00
US BANK NATIONAL ASSOCIATION                 Secured             833,000.00   285,371.28      285,371.28      285,371.28                   .00




Page 1 of 2                                                                                                     UST Form 101-13-FR-S (9/1/2009)
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                                  UNITED STATES BANKRUPTCY COURT
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In re: BEGUM S NASSA                                                                                    Case No.: 117-43078-NHL

                 Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                                      Claim              Claim           Claim          Principal           Interest
Name                                       Class              Scheduled          Asserted        Allowed        Paid                Paid
WELLS FARGO BANK, N.A.                     Unsecured                  NA               NA              NA              .00                 .00

 Summary of Disbursements to Creditors:                                                          Claim          Principal           Interest
                                                                                                 Allowed        Paid                Paid
 Secured Payments:
     Mortgage Ongoing:                                                                               .00              .00                  .00
     Mortgage Arrearage:                                                                      285,371.28       285,371.28                  .00
     Debt Secured by Vehicle:                                                                        .00              .00                  .00
     All Other Secured:                                                                              .00              .00                  .00
 TOTAL SECURED:                                                                               285,371.28       285,371.28                  .00

 Priority Unsecured Payments:
     Domestic Support Arrearage:                                                                      .00             .00                  .00
     Domestic Support Ongoing:                                                                        .00             .00                  .00
     All Other Priority:                                                                         2,129.00        2,129.00                  .00
 TOTAL PRIORITY:                                                                                 2,129.00        2,129.00                  .00

 GENERAL UNSECURED PAYMENTS:                                                                     6,704.86        6,704.86                  .00

 Disbursements:
        Expenses of Administration:                                                           $22,667.27
        Disbursements to Creditors:                                                          $294,205.14
 TOTAL DISBURSEMENTS:                                                                                                          $316,872.41

    12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the estate has been fully administered, the
    foregoing summary is true and complete, and all administrative matters for which the trustee is responsible have been completed.
    The trustee requests a final decree be entered that discharges the trustee and grants such other relief as may be just and proper.


                   Date:     05/31/2019                                    By:   /s/Marianne De Rosa


           STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
           exemption 5 C.F.R. Section 1320.4(a)(2) applies.




Page 2 of 2                                                                                                     UST Form 101-13-FR-S (9/1/2009)
